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  UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,       :
                                :
           v.                   :                     Case Number: CR06-208(GK)
                                :                     Judge Gladys Kessler
FRANK BERKELEY,                 :                     Next Court Date: No Date Set
                                :
           Defendant.           :
================================

                                          ORDER

        THIS CAUSE having come before the Court on the Motion for an Enlargement of

Time to File the Defendant’s Post-Hearing Brief, and that Motion having been considered

by    the   Court,   and   for    good   cause    shown,   it   is   this   _______   day   of

___________________, 2007,

        ORDERED, that the Motion for an Enlargement of Time to File the Defendant’s

Post-Hearing Brief is hereby GRANTED,

        AND IT IS FURTHER ORDERED, that the defense is granted an enlargement of

time until the ________ day of ________________________, 2007 to file the

defendant’s post-hearing brief.

                                                 _________________________________
                                                 JUDGE


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